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                                                                         United States District Court
                                                                           Southern District of Texas

                                                                              ENTERED
                                                                              June 21, 2023
                        UNITED STATES DISTRICT COURT
                                                                           Nathan Ochsner, Clerk
                         SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION


TROJAN BATTERY COMPANY, LLC,              §
      Plaintiff,                          §
                                          §
VS.                                       § CIVIL ACTION NO. 4:21-CV-03075
                                          §
GOLF CARTS OF CYPRESS, LLC                §
and                                       §
TROJAN EV, LLC,                           §
      Defendants.                         §

                                         ORDER

       The Court, having considered Plaintiff Trojan Battery Company, LLC’s Unopposed

Motion for Leave to File Under Seal Certain Trial Exhibits and Portions of Proposed

Findings of Fact and Conclusions of Law is GRANTED.

        SIGNED at Houston, Texas on June 21, 2023.


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                                                  GEORGE C. HANKS, JR.
                                              UNITED STATES DISTRICT JUDGE




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